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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


   MICHAEL F. TUR, individually and
   as Personal Representative of the
   Estate of Christopher Tur, deceased,
   et al.,

               Plaintiffs,
   v.                                             Case No. 3:21-cv-483-MMH-JRK

   JOHN R. NETTLETON, et al.,

               Defendants.


                                       ORDER

         THIS CAUSE is before the Court sua sponte. Upon review of Captain

   Nettleton’s Motion to Dismiss and Incorporated Memorandum of Law (Doc. 18)

   and Captain Nettleton’s Motion to Stay with Incorporated Memorandum of Law

   (Doc. 19) (collectively, the “Motions”), both filed on June 19, 2021, the Court

   finds that counsel for Defendant has failed to comply with the new typography

   requirements set forth in the recently amended Local Rules of the United States

   District Court for the Middle District of Florida (Local Rule(s)), which took effect

   on February 1, 2021. See Local Rule 1.08(a)-(b). As such, the Motions are due

   to be stricken and Defendant permitted the opportunity to amend the Motions

   to comply with the Local Rules of this Court. Indeed, the Court directs all

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   counsel of record in this case to review the requirements set forth in Local Rule

   1.08 and ensure that all future filings are in compliance.1

           ORDERED:

           1. Captain    Nettleton’s     Motion     to    Dismiss     and     Incorporated

             Memorandum of Law (Doc. 18) and Captain Nettleton’s Motion to Stay

             with Incorporated Memorandum of Law (Doc. 19) are STRICKEN.

           2. Defendant shall have up to and including July 12, 2021, to file a

             motion to dismiss and motion to stay that complies with the Local

             Rules of this Court.

           DONE AND ORDERED at Jacksonville, Florida this 22nd day of June,

   2021.




   lc28
   Copies:

   Pro Se Parties
   Counsel of record

   1 The Court cautions counsel that the amended Local Rules contain numerous, significant
   changes. Counsel should review the Local Rules and, to familiarize themselves with key
   changes, are encouraged to review the “Video Presentation on New Local Rules” available on
   the Middle District of Florida website at www.flmd.uscourts.gov/local-rules.



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